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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

                                           :
Andrew R. Vara, in his capacity as the     :
United States Trustee for Region 3; Tara   :
Twomey, in her capacity as Director of the :
Executive Office for United States         :
Trustees; and the United States Trustee    :
Program,                                   :
                                           :
                           Appellants,     :
                                           : 1:23-cv-01067-MN
       v.                                  : BAP No. 23-00056
                                           :
Dean A. Ziehl, in his capacity as Trustee  :
of the TWC Liquidating Trust,              :
                                           :
                            Appellee       :
                                           :
                                           :

      APPELLANTS’ MOTION TO STAY APPEAL GIVEN THE
   SUPREME COURT’S GRANT OF A PETITION FOR A WRIT OF
  CERTIORARI IN UNITED STATES TRUSTEE v. JOHN Q. HAMMONS
                  FALL 2006, LLC, No. 22-1238

      Appellants, Andrew R. Vara, in his official capacity as United States Trustee

for Region 3, Tara Twomey, in her official capacity as Director of the Executive

Office for United States Trustees, and the United States Trustee Program

(collectively, “Appellants” or “United States Trustee”), respectfully move to stay

this appeal pending resolution of United States Trustee v. John Q. Hammons Fall
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2006 LLC, __ S. Ct. __, 2023 WL 6319661 (U.S.) (certiorari granted Sept. 29,

2023), which will address the same arguments raised in this this appeal.

                             FACTUAL BACKGROUND

      1.     In 2017, to address a shortfall in the United States Trustee Program’s

funding, Congress enacted a temporary increase in the quarterly-fee schedule

applicable to chapter 11 debtors with quarterly disbursements of $1 million or

greater. Siegel v. Fitzgerald, 142 S. Ct. 1770, 1777 (2022). Congress expected that

this increase would be applied uniformly nationwide in both the 88 federal judicial

districts participating in the United States Trustee Program (“Trustee districts”) as

well as in the 6 judicial districts authorized to maintain a separate bankruptcy

administrator program in which quarterly fees are also assessed (the “Administrator

districts”). Id. at 1782 n.2. But the Administrator districts did not timely implement

the increase. Id. at 1777.

      2.     On June 6, 2022, the Supreme Court held that the disparate

implementation of the 2017 statute was unconstitutional and that this flaw was

traceable to Congress’s drafting decisions. Siegel, 142 S. Ct. at 1782-83 & n.2. Both

sides disputed the appropriate remedy for the constitutional defect—whether, as

advocated by the petitioner, the government should return the increased fees paid in

Trustee districts during the nonuniform period or, as the government maintained,

prospective uniformity was sufficient or, in the alternative, a retroactive fee increase



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was warranted for debtors in Administrator districts who paid less. Id. at 1783. The

Supreme Court expressly declined to resolve the remedy issue in the first instance

and remanded that question for resolution in the lower courts. Id.

      3.    Following the Supreme Court’s decision in Seigel, on December 12,

2022, Appellee, the Liquidation Trustee, brought an adversary proceeding seeking

to recover an alleged overpayment of quarterly fees based on the constitutional

violation found in Siegel. Compl. (Dkt. 1). The Liquidation Trustee moved for

summary judgment arguing the remedy for the Siegel violation was a refund of the

excess fees paid. Pl.’s Mot. For Summ. J. (Dkt. 8). The United States Trustee filed

a cross motion for summary judgment contending that no refund was due because

the constitutionally appropriate remedy is prospective relief only—i.e., Congress

already corrected the constitutional defect that the Supreme Court identified in

Siegel by amending the quarterly fee statute to eliminate the disparity about which

the Liquidation Trustee complained. Def.’s Mot. For Summ. J. (Dkt. 17). The

United States Trustee further argued that even if retrospective relief were needed,

the proper remedy would be to establish equal treatment by extension of the main

rule—the 2017 Act’s fee increase—to the six Administrator districts. Id.

      4.    On September 14, 2023, the bankruptcy court granted the Liquidation

Trustee’s motion for summary judgment and ordered the appropriate remedy for the

Siegel violation was a refund of the excess fees paid by the Liquidation Trustee.



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Order (Dkt. 25). On September 28, 2023, the United States Trustee timely appealed.

(Dkt. 27).

      5.     Following the Supreme Court’s remand in Siegel, multiple courts of

appeal have addressed what should be the appropriate remedy for the constitutional

violation found in Siegel, and the United States filed petitions for Supreme Court

review of those decisions. See Petition for Writ of Cert., United States Trustee v.

John Q. Hammons Fall 2006 LLC, No. 22-1238 (U.S.) (filed June 23, 2023); Petition

for Writ of Cert., Harrington v. Clinton Nurseries, Inc., No. 23-47 (U.S.) (filed July

17, 2023); Petition for Writ of Cert., United States Trustee Region 21 v. Bast Amron

LLP, No. 23-237 (U.S.) (filed Sept. 21, 2023).

      6.     On September 29, 2023, the Supreme Court granted the petition for

certiorari in United States Trustee v. John Q. Hammons Fall 2006 LLC, No. 22-1238

(U.S.). The question presented in that case is:

      Whether the appropriate remedy for the constitutional uniformity
      violation found by [the Supreme Court] in Siegel. . . is to require the
      United States Trustee to grant retrospective refunds of the increased
      fees paid by debtors in United States Trustee districts during the period
      of disuniformity, or is instead either to deem sufficient the prospective
      remedy adopted by Congress or to require the collection of additional
      fees from a much smaller number of debtors in Bankruptcy
      Administrator districts.

                                   ARGUMENT

      7.     “[T]he power to stay proceedings is incidental to the power inherent in

every court to control the disposition of the causes on its docket with economy of

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time and effort for itself, for counsel, and for litigants.” Landis v. North American

Co., 299 U.S. 248, 254-55 (1936). “How this can best be done calls for the exercise

of judgment, which must weigh competing interests and maintain an even balance.”

Id. In the exercise of its sound discretion, a court may hold one lawsuit in abeyance

to abide the outcome of another which may substantially affect it or be dispositive

of the issues. Cf. American Life Ins. Co. v. Stewart, 300 U.S. 203, 215 (1937).

      8.     A decision by the Supreme Court in Hammons will definitively resolve

the dispositive legal arguments asserted in this appeal. Staying these proceedings

while the Supreme Court resolves the remedy issue will save the time and resources

of both the parties and this Court. A stay of further proceedings in this appeal

pending the outcome of Hammons is warranted. See Siegel v. Vetter (In re Circuit

City Stores, Inc.), Case No. 23-1678 (4th Cir. Oct. 24, 2023), Docket No. 26 (order

placing appeal of judgment entered on remand from Supreme Court in Siegel in

abeyance pending resolution of Hammons).

      9.     The United States Trustee will promptly inform this Court after the

Supreme Court has rendered a decision in Hammons.




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                                 CONCLUSION

      For the reasons set forth above, Appellants respectfully request that this Court

stay this appeal.

DATED: November 2, 2023                 Respectfully submitted,
                                        Andrew R. Vara,
                                        United States Trustee
                                        Regions 3 and 9

                                        By: /s/ Jane M. Leamy
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                      CERTIFICATE OF CONFERENCE

   Pursuant to D. Del. L.R. 7.1.1., the undersigned hereby certifies that counsel

for Appellants has made reasonable efforts to reach agreement on the matters set

forth in this motion. Counsel for Appellee indicated that Appellee opposes the

motion.

Dated: November 2, 2023                            /s/ Jane M. Leamy
                                                   Jane M. Leamy




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   CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT,
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Dated: November 2, 2023                            /s/ Jane M. Leamy
                                                   Jane M. Leamy




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                          CERTIFICATE OF SERVICE

       I hereby certify that on November 2, 2023, I electronically filed the foregoing
with the Clerk of this Court using the CM/ECF system which will send notification
of such filing to all ECF registrants in this case. I further certify that the foregoing
was emailed to counsel for Appellee:

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                                               /s/ Jane M. Leamy
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